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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF COLORADO

Consolidated Civil Action No. 16-cv-02733-STV

BIONCA CHARMAINE ROGERS,
CATHY BEGANO,
ANDREW ATKINS, and
MARC TREVITHICK,

      Plaintiffs,

v.

COLORADO DEPARTMENT OF CORRECTIONS,
RICK RAEMISCH,
RYAN LONG, and
MIKE ROMERO,

      Defendants.

______________________________________________________________________

Consolidated Civil Action No. 18-cv-02926-STV

LEONID RABINKOV,
CATHY BEGANO,
ANDREW ATKINS, and
MARC TREVITHICK,

      Plaintiffs,

v.

COLORADO DEPARTMENT OF CORRECTIONS,

     Defendant.
______________________________________________________________________

                                ORDER
______________________________________________________________________




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Magistrate Judge Scott T. Varholak

         This matter comes before the Court on Defendant Colorado Department of

Corrections’ Motion to Dismiss the Amended Complaint filed by Plaintiffs in Consolidated

Civil Action No. 18-cv-02926-STV (the “Motion”). [#119] The Motion is before the Court

on the parties’ consent to have a United States magistrate judge conduct all proceedings

in this action and to order the entry of a final judgment. [##30, 31, 51; see also 18-cv-

02926-STV, #17] This Court has carefully considered the Motion and related briefing, the

case file and the applicable case law, and has determined that oral argument would not

materially assist in the disposition of the Motion. For the following reasons, I DENY the

Motion.

    I.     FACTUAL BACKGROUND 1

         Plaintiffs are inmates incarcerated by Defendant Colorado Department of

Corrections (“CDOC”). [#115 at ¶¶ 3, 6, 9, 12] Plaintiffs in Consolidated Civil Action No.

18-cv-02926-STV, Leonid Rabinkov, Cathy Begano, Andrew Atkins, and Marc Trevithick

(“Plaintiffs”), are all deaf and use American Sign Language (“ASL”) as their primary

language. [Id. at ¶¶ 4-5, 8, 10-11, 13-14] Plaintiffs claim that the CDOC is denying

Plaintiffs the ability to communicate with friends and relatives outside of CDOC.

Specifically, Plaintiffs have requested permission to use a videophone inside CDOC

facilities to communicate with their friends and family. [Id. at ¶ 50] Because ASL is a

visual language in which communication occurs through the movement of hands




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  The facts are drawn from the allegations in Plaintiffs’ Amended Complaint (the
“Amended Complaint”) [#115], which must be taken as true when considering a motion
to dismiss. See Wilson v. Montano, 715 F.3d 847, 850 n.1 (10th Cir. 2013) (citing Brown
v. Montoya, 662 F.3d 1152, 1162 (10th Cir. 2011)).
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combined with facial expressions and postures of the body [id. at ¶ 17], Plaintiffs contend

that a videophone will allow them to effectively communicate with others using ASL [id.

at ¶ 47]. CDOC has refused to provide Plaintiffs with a videophone to communicate with

their friends and family members. [Id. at ¶¶ 45, 52]

       CDOC permits prisoners to make telephone calls to individuals on their phone list.

[Id. at ¶ 40] Hearing prisoners who wish to contact hearing family members are permitted

to use the phone at any time phones are available, provided they have paid for the time

and the person being called is on the inmate’s phone list. [Id. at ¶ 41] In contrast, CDOC

allows deaf inmates to use a teletypewriter (“TTY”). [Id. at ¶ 42] In a TTY communication,

each participant types out his or her side of the conversation, then waits while the other

person types back. [Id. at ¶ 23] For a TTY communication to occur, both participants

must own TTY equipment. [Id. at ¶ 22] Plaintiffs allege that, on multiple occasions, the

TTYs at the CDOC facilities “regularly freeze[] or disconnect[]” and their “keys are

extremely sensitive, causing typographical errors.” [Id. at ¶ 44] Plaintiffs further allege

that they have scheduled specific times to communicate with family and friends using the

TTY, only to find that it is broken. [Id.] According to the Amended Complaint, when a

facility’s TTY is broken, “it often takes the CDOC an unreasonable time to fix it.” [Id.]

Plaintiffs allege that their inability to effectively communicate have caused them to lose

contact with friends and family. [Id. at ¶ 43]

       The Amended Complaint brings two claims. The first claim alleges that CDOC

violated Title II of the Americans with Disabilities Act (“ADA”). [Id. at ¶¶ 53-61] The

second claim alleges that CDOC violated Section 504 of the Rehabilitation Act. [Id. at ¶¶

62-71] Plaintiffs seek injunctive relief and compensatory damages. [Id. at 12] CDOC



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has moved to dismiss both claims. [#119] Plaintiffs have responded to the Motion [#123]

and CDOC filed a reply [#127].

II.    STANDARD OF REVIEW

       Under Federal Rule of Civil Procedure 12(b)(6), a court may dismiss a complaint

for “failure to state a claim upon which relief can be granted.” In deciding a motion under

Rule 12(b)(6), a court must “accept as true all well-pleaded factual allegations . . . and

view these allegations in the light most favorable to the plaintiff.” Casanova v. Ulibarri,

595 F.3d 1120, 1124 (10th Cir. 2010) (alteration in original) (quoting Smith v. United

States, 561 F.3d 1090, 1098 (10th Cir. 2009)). Nonetheless, a plaintiff may not rely on

mere labels or conclusions, “and a formulaic recitation of the elements of a cause of action

will not do.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).

       “To survive a motion to dismiss, a complaint must contain sufficient factual matter,

accepted as true, to ‘state a claim to relief that is plausible on its face.’” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009) (quoting Twombly, 550 U.S. at 570). Plausibility refers “to the

scope of the allegations in a complaint: if they are so general that they encompass a wide

swath of conduct, much of it innocent, then the plaintiffs ‘have not nudged their claims

across the line from conceivable to plausible.’” Robbins v. Oklahoma, 519 F.3d 1242,

1247 (10th Cir. 2008) (quoting Twombly, 550 U.S. at 570). “The burden is on the plaintiff

to frame a ‘complaint with enough factual matter (taken as true) to suggest’ that he or she

is entitled to relief.” Id. (quoting Twombly, 550 U.S. at 556). The ultimate duty of the court

is to “determine whether the complaint sufficiently alleges facts supporting all the

elements necessary to establish an entitlement to relief under the legal theory proposed.”

Forest Guardians v. Forsgren, 478 F.3d 1149, 1160 (10th Cir. 2007).



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III.   ANALYSIS

       CDOC argues that Plaintiffs’ claims must be dismissed for failure to state a claim

under the ADA or the Rehabilitation Act. [#119 at 5-8] “Analysis of a claim under Title II

of the ADA is identical to an analysis under the Rehabilitation Act.” Kimble v. Douglas

Cty. Sch. Dist. RE-1, 925 F. Supp. 2d 1176, 1182 (D. Colo. 2013) (citing Nielsen v. Moroni

Feed Co., 162 F.3d 604, 608 n.7 (10th Cir. 1998); Kimber v. Thiokol Corp., 196 F.3d 1092,

1102 (10th Cir. 1998)); see also Anderson v. Colo. Dep’t of Corr., 848 F. Supp. 2d 1291,

1300 n.2 (D. Colo. 2012) (“The Rehabilitation Act is materially identical to and the model

for the ADA[—]the elements are the same except the Rehabilitation Act requires that

defendant receive federal funds.” (quotations omitted)). Accordingly, and as requested

by the parties, the Court will apply the same analysis to Plaintiffs’ ADA and Rehabilitation

Act claims.

       Title II of the ADA states, in pertinent part, that “no qualified individual with a

disability shall, by reason of such disability, be excluded from participation in or be denied

the benefits of the services, programs, or activities of a public entity, or be subjected to

discrimination by any such entity.” 42 U.S.C. § 12132. This provision applies to prisoners.

See Pa. Dep’t of Corr. v. Yeskey, 524 U.S. 206, 210 (1998). “To state a claim under Title

II, the plaintiff must allege that (1) he is a qualified individual with a disability, (2) who was

excluded from participation in or denied the benefits of a public entity’s services,

programs, or activities, and (3) such exclusion, denial of benefits, or discrimination was

by reason of a disability.” Robertson v. Las Animas Cty. Sheriff’s Dep’t, 500 F.3d 1185,

1193 (10th Cir. 2007).




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       CDOC challenges whether Plaintiffs have sufficiently alleged that they were

excluded from the benefits of CDOC’s services, programs, or activities. 2 [#119 at 5-8]

As the Tenth Circuit has instructed, the ADA “requires more than physical access to public

entities: it requires public entities to provide meaningful access to their programs and

services.” Robertson, 550 F.3d at 1193 (quotations omitted). To effectuate Title II’s

mandate, Department of Justice “regulations require public entities to ‘make reasonable

modifications in policies, practices, or procedures when the modifications are necessary

to avoid discrimination on the basis of disability.’” Id. (quoting 28 C.F.R. § 35.130(b)(7)).

CDOC argues that it is only required to make reasonable accommodations for Plaintiffs,

not the best possible accommodations, and that it has satisfied this obligation by providing

TTY equipment. [#119 at 6 (citing Arce v. Louisiana, 226 F. Supp. 3d 643, 651 (E.D. La.

2016) (finding that ADA did not require prison to provide deaf inmate with videophone as

a reasonable accommodation))]

       Ultimately, for purposes of deciding the instant Motion to Dismiss, the Court need

not decide whether CDOC must provide Plaintiffs with a videophone in order to provide a

reasonable accommodation, because Plaintiffs have plausibly alleged that they have

often been denied any meaningful access to forms of communication with friends and

family. As indicated above, Plaintiffs allege that, on multiple occasions, the TTYs at the

CDOC facilities “regularly freeze[] or disconnect[]” and their “keys are extremely sensitive,

causing typographical errors.” [#115 at ¶ 44] Plaintiffs further allege that broken TTYs




2 CDOC states that Plaintiffs have failed to plead facts to support either the second or
third elements of an ADA or Rehabilitation Act claim [#119 at 5], but the Motion focuses
solely on the second element and whether CDOC’s use of TTY equipment provided
meaningful access to programs and services [id. at 5-8].
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have interfered with specific times they have scheduled to communicate with family and

friends. [Id.] According to the Amended Complaint, when a facility’s TTY is broken, “it

often takes the CDOC an unreasonable time to fix it.” [Id.] Plaintiffs further contend that

the current TTY equipment is becoming antiquated, requires frequent maintenance from

sources untrained on the use and repair of TTYs, thus “creat[ing] unfair delays for

offenders due to the limited number of TTY machines department wide when equipment

is down.” [Id. at ¶ 26] Plaintiffs allege that their inability to effectively communicate has

caused them to lose contact with friends and family. [Id. at ¶ 43] While the Court agrees

with CDOC that the Amended Complaint could have been more specific about the

frequency of the breakdowns, the Court ultimately concludes that the allegations are

sufficient to plausibly plead both an ADA and a Rehabilitation Act claim. See Tanney v.

Boles, 400 F. Supp. 2d 1027, 1041-42 (E.D. Mich. 2005) (denying summary judgment for

institution where inmate offered evidence that he was denied reasonable access to TTY

machine); Zemedagegehu v. Arthur, No. 1:15cv57 (JCC/MSN), 2015 WL 1930539, at *13

(E.D. Va. April 28, 2015) (denying motion to dismiss filed by institution where plaintiff was

provided access to TTY services but plaintiff’s inability to read or write English made such

access meaningless); cf. Arce, 226 F. Supp. 3d at 651 (granting motion to dismiss where

the complaint did not allege that the TTY machine failed to function or that the plaintiff

could not effectively communicate using the TTY machine). Accordingly, Plaintiffs have

plausibly pleaded ADA and Rehabilitation Act claims and CDOC’s Motion is DENIED.




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IV.   CONCLUSION

      For the foregoing reasons, the Court DENIES Defendant’s Motion to Dismiss the

Amended Complaint [#119].



DATED: April 9, 2019                        BY THE COURT:

                                            s/Scott T. Varholak
                                            United States Magistrate Judge




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